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 7 Attorneys for Defendant
 8 Hon. Jeffrey Lane Fortenberry
 9                      IN THE UNITED STATES DISTRICT COURT
10
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                Case No. 2:21-cr-00941-SB
13                                            Hon. Stanley Blumenfeld, Jr.
          Plaintiff,
14                                            HON. JEFFREY LANE
15   v.                                       FORTENBERRY’S UNOPPOSED EX
                                              PARTE APPLICATION TO WAIVE
16   JEFFREY FORTENBERRY,                     PRESENCE AT STATUS
                                              CONFERENCE; DECLARATION OF
17        Defendant.                          JOHN L. LITTRELL
18
19                                            Hearing Date: January 25, 2022
20                                            Hearing Time: 1:30 p.m.

21                                            Indictment: Oct. 19, 2021
                                              Pretrial Conference: Feb. 8, 2022
22                                            Trial: Feb. 15, 2022
23                                            Last Day: March 2, 2022
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                        HON. JEFFREY LANE FORTENBERRY’S UNOPPOSED
                          EX PARTE APPLICATION TO WAIVE PRESENCE
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 1 TO THE HONORABLE COURT, ALL PARTIES, AND COUNSEL OF RECORD:
 2         Pursuant to Federal Rule of Criminal Procedure 43 (“Rule 43”), the Honorable
 3 Jeffrey Lane Fortenberry applies ex parte for an order waiving his appearance at the in-
 4 person status conference currently scheduled for January 25, 2022, at 1:30 p.m. (the “Status
 5 Conference”). On or around January 18, 2022, Congressman Fortenberry became ill with
 6 COVID-19. He is currently recuperating, quarantining, and tending to matters from his
 7 home. See Declaration of John Littrell at ¶ 3. For those reasons, he respectfully requests
 8 the Court permit him to waive his presence at the January 25, 2022 Status Conference. The
 9 Congressman agrees that his interests will be deemed represented at all times by the
10 presence of his attorneys, as if he himself were personally present in court.
11         Congressman Fortenberry has previously filed a signed waiver of presence in this
12 case pursuant to Rule 43. See Dkt. 39-2.
13         This application is supported by the attached Declaration of John L. Littrell. The
14 government does not oppose this request.
15
16    Dated: January 24, 2022                    Bienert Katzman Littrell Williams LLP
17
18                                                    /s/ John L. Littrell
                                                 By:________________________________
                                                     John L. Littrell
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                                                     Attorneys for Defendant
20                                                   Hon. Jeffrey Lane Fortenberry
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                        HON. JEFFREY LANE FORTENBERRY’S UNOPPOSED
                          EX PARTE APPLICATION TO WAIVE PRESENCE
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 1                           DECLARATION OF JOHN LITTRELL
 2         I, John L. Littrell, declare as follows:
 3         1.    I am a partner at Bienert Katzman Littrell Williams LLP and counsel for
 4 Congressman Jeffrey Lane Fortenberry, the defendant in this case.
 5         2.    I submit this declaration in support of an application to waive Congressman
 6 Fortenberry’s presence at the Status Conference currently set for January 25, 2022 at 1:30
 7 p.m.
 8         3.    On or around January 18, 2022, Congressman Fortenberry became ill with
 9 COVID-19. He is currently recuperating, quarantining, and tending to matters from his
10 home. See https://fortenberry.house.gov/news/press-releases/fortenberry-diagnosed-covid.
11         4.     Because Mr. Fortenberry is still recovering from COVID-19 it is not advisable
12 for him to travel to Los Angeles. I respectfully request that Congressman Fortenberry be
13 permitted to waive his appearance for the Status Conference described above.
14         5.    Mr. Fortenberry has previously filed a signed Waiver of Appearance in this
15 case, at Docket Number 39-2.
16         6.    On January 23, 2022, I reached out to counsel for the government regarding
17 this request. The government does not object to this request.
18         I declare under penalty of perjury under the laws of the United States of America that
19 the foregoing is true and correct to the best of my knowledge. Executed this 23rd day of
20 January 2022.
21                                                        /s/ John L. Littrell
                                                        _________________________
                                                        John L. Littrell
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                         HON. JEFFREY LANE FORTENBERRY’S UNOPPOSED
                           EX PARTE APPLICATION TO WAIVE PRESENCE
